




NO. 07-07-0402-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



NOVEMBER 9, 2007

______________________________



JAMES WAYNE IRONS, SR.,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 258th DISTRICT COURT OF POLK COUNTY;



NO. 19,491; HON. ELIZABETH COKER, PRESIDING

_______________________________



ON MOTION TO DISMISS

__________________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant James Wayne Irons, Sr., by and through his attorney, has filed a motion to dismiss his appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) 
and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Do not publish.


